           Case 1:21-cr-00028-APM Document 334 Filed 08/11/21 Page 1 of 3




                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           *
                                                   *
                     vs.                           *       Case No. 1:21-cr-00028-APM-2
                                                   *
DONOVAN CROWL                                      *
         Defendant                                 *
                                                   *

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                 SECOND CONSENT MOTION TO MODIFY CONDITIONS
                OF PRETRIAL RELEASE TO AUTHORIZE HOSPITAL VISIT

       Donovan Crowl, by his undersigned counsel, respectfully requests that this Honorable Court

modify its Order to authorize Mr. Crowl to travel from August 11, 2021 through August 23, 2021

to visit his mother, who is hospitalized in an intensive care unit in Missouri. She has taken a turn

for the worse and is expected to expire in the next few days. AUSA Kathryn Rakoczy consents to

this request, as more fully set forth below. Pretrial Services Officer Holman defers to Government

counsel.

       1.        On March 26, 2021, this Court released Mr. Crowl to home incarceration with

electronic monitoring. Order, ECF 115. The Court has modified that Order to allow Mr. Crowl to

visit his mother in the hospital once before (ECF 178, 4/23/21); for work release (ECF 191,

5/19/21).1 Mr. Crowl has been in in full compliance with the conditions of release. See PSA Status

Report (ECF 322, 8/9/21)



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            In granting work release, the Court entered a Minute Order that states in relevant part:

       To the extent the conditions of release need to be designated as Home Confinement
       instead of Home Incarceration, such adjustment is granted. All other conditions of
       release shall remain in place. See the attached Order for additional details. Signed by
       Judge Amit P. Mehta on 5/19/2021. (lcapm1) (Entered: 05/19/2021)
           Case 1:21-cr-00028-APM Document 334 Filed 08/11/21 Page 2 of 3




        2.      Mr. Crowl’s mother, who has been hospitalized for some time is expected to expire

in the next day or two.

        3.      Mr. Crowl respectfully requests that the Court modify the condition of release to

authorize him to travel to the hospital in Missouri, by automobile with his daughter and remain in

the area until funeral services.

        4.      Mr. Crowl would stay with other family members overnight at a hotel, that is

attached by a walkway to the hospital.

        5.      Funeral services are being planned in Illinois, the state of residence for Mr. Crowl’s

brother and other family members.

        6.      For the remainder of the time until funeral services are held, Mr. Crowl would stay

at his brother’s home in Illinois.

        7.      Counsel has provided to AUSA Rakoczy and to Pretrial Services the name, address

and phone number of the hospital; the hotel where he will be staying with family members; and of

family members with whom Mr. Crowl will be staying.

        8.      As part of this modification, Mr. Crowl would be required to make daily phone calls

to his Pretrial Services Officer in Ohio and contact the Pretrial Services Officer as soon as he returns

to Ohio.

        9.      Mr. Crowl would leave his home in Ohio today, August 11, 2021, as soon as the

Court modifies the conditions of release. He would return on August 23, 2021. He is traveling to

Missouri by automobile with his daughter. The return to Ohio would be by automobile with his

daughter or other family member.




                                                   2
         Case 1:21-cr-00028-APM Document 334 Filed 08/11/21 Page 3 of 3




       10.     All other conditions of pretrial release would remain in place.

       WHEREFORE, Mr. Crowl respectfully moves that this Honorable Court modify its Order

Setting Conditions of Release to authorize Mr. Crowl to travel out of town from August 11, 2021

through August 23, 2021 to visit his dying mother, who is hospitalized in extremis in Missouri and

stay overnight with family members.


                                                       Respectfully submitted,

                                                       /s/ Carmen D. Hernandez
                                                       Carmen D. Hernandez
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                                  CERTIFICATE OF SERVICE

       I hereby certify that the instant notice was served on all counsel of record 11th day of August,
2021 on all counsel of record via ECF.



                                                       /s/ Carmen D. Hernandez
                                                       Carmen D. Hernandez




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